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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION


   UNITED STATES OF AMERICA, ex rel.
   BARBARA BERNIER; BARBARA
   BERNIER; and ESE LOVE

                   Plaintiffs,
                                                        Case no. 6:16-CV-00970-RBD-TBS
                   v.

   INFILAW CORPORATION; CHARLOTTE
   SCHOOL OF LAW, LLC; AMERICAN BAR
   ASSOCIATION, d/b/a COUNCIL OF THE
   SECTION OF LEGAL EDUCATION AND
   ADMISSIONS TO THE BAR; and
   AMERICAN BAR ASSOCIATION, d/b/a
   ACCREDITATION COMMITTEE OF THE
   SECTION OF LEGAL EDUCATION AND
   ADMISSIONS TO THE BAR

                   Defendants.


                        CERTIFICATE OF INTERESTED PERSONS AND
                          CORPORATE DISCLOSURE STATEMENT

            Defendants American Bar Association Council of the Section of Legal Education and

   Admissions to the Bar (the “Council”), and American Bar Association Accreditation

   Committee of the Section of Legal Education and Admissions to the Bar (the “Committee”)

   (collectively “the ABA”) hereby disclose the following pursuant to the Court’s Order on

   Interested Persons and Corporate Disclosure Statement.

            1.     The name of each person, attorney, association of persons, firm, law firm,

   partnership, and corporation that has or may have an interest in the outcome of this action —

   including subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded




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   companies that own 10% or more of a party’s stock, and all other identifiable legal entities

   related to any party in the case:

                   The American Bar Association;
                   The American Bar Association Accreditation Committee of the Section of
                   Legal Education and Admissions to the Bar; and
                   The American Bar Association Council of the Section of Legal Education
                   and Admissions to the bar.

             The ABA’s counsel in this matter are Johanna W. Clark of the law firm
             Carlton Fields Jordan Burt P.A.; and Anne E. Rea, Tacy F. Flint, Steven J.
             Horowitz, and Benjamin I. Friedman of the law firm Sidley Austin LLP.

            Other persons or entities interested in the outcome of this case include each of
            the parties named as Plaintiffs or Defendants and their respective counsel, which
            include:

                   Defendants

                   InfiLaw Holding, LLC;
                   InfiLaw Corporation, a wholly owned subsidiary of InfiLaw Holding,
                   LLC and parent corporation for the following entities:

                          Charlotte School of Law, LLC
                          CSOL Holding, LLC
                          Arizona Summit Law School, LLC
                          Florida Coastal School of Law, Inc.
                          Inspiras Management Services, LLC
                          Inspiras Marketing Services, LLC

                   Counsel for Defendants InfiLaw Corporation and Charlotte School of
                   Law LLC include Vincent A. Citro of the Law Offices of Mark L.
                   Horowitz P.A.; and David Mills and Mazda K. Antia of Cooley LLP.

                   Plaintiffs

                   Barbara Bernier
                   Ese Love

                   Counsel for Plaintiffs Bernier and Love include Coleman W. Watson,
                   Leia Villasenor Leitner, and Ronika Julleen Carter of the law firm
                   Watson LLP.




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            2.     The name of every other entity whose publicly-traded stock, equity, or debt

   may be substantially affected by the outcome of the proceedings:

                   None

            3.     The name of every other entity which is likely to be an active participant in

   the proceedings, including the debtor and members of the creditors’ committee (or twenty

   largest unsecured creditors) in bankruptcy cases:

                   None

            4.     The name of each victim (individual or corporate) of civil and criminal

   conduct alleged to be wrongful, including every person who may be entitled to restitution:

                   United States of America
                   Barbara Bernier
                   Ese Love

            5.     Check one of the following:

            X       I certify that I am unaware of any actual or potential conflict of interest
            involving the District Judge and Magistrate Judge assigned to this case, and will
            immediately notify the Court in writing on learning of any such conflict.

                                   -or-

            ____ I certify that I am aware of a conflict or basis of recusal of the District Judge or
            Magistrate Judge as follows: (explain)

   DATED: June 11, 2018

                                                  Respectfully submitted,

                                                  /s/ Johanna W. Clark
                                                  Johanna W. Clark
                                                  Florida Bar No. 196400
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                                                  450 S. Orange Ave., Suite 500
                                                  Orlando, Florida 32801
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                                                Telephone: (312) 853-7000
                                                Facsimile: (312) 853-7036
                                                * Pro hac vice applications forthcoming

                                  CERTIFICATE OF SERVICE

            I CERTIFY that on June 11, 2018, I electronically filed the foregoing with the Clerk

   of the Court by using the CM/ECF system which will send a notice of electronic filing to all

   counsel of record.


                                                       /s/ Johanna W. Clark
                                                       Attorney




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